  Case 4:22-cv-05502-DMR   Document 295-17   Filed 01/02/25   Page 1 of 12




                              EXHIBIT L

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
                   Case 4:22-cv-05502-DMR          Document 295-17       Filed 01/02/25       Page 2 of 12


                   1   LATHAM & WATKINS LLP
                       Alfred C. Pfeiffer, Jr., SBN 120965
                   2   505 Montgomery Street, Ste 2000
                   3   San Francisco, CA 94111
                       Telephone: (415) 391-0600
                   4   al.pfeiffer@lw.com

                   5   LAWYERS’ COMMITTEE FOR CIVIL
                       RIGHTS OF THE SAN FRANCISCO BAY AREA
                   6   Zal K. Shroff, MJP 804620, pro hac vice
                   7   131 Steuart Street, Ste. 400
                       San Francisco, CA 94105
                   8   Telephone: (415) 543-9444
                       zshroff@lccrsf.org
                   9
                       AMERICAN CIVIL LIBERTIES UNION
               10
                       FOUNDATION OF NORTHERN CALIFORNIA
               11      John Thomas H. Do, SBN 285075
                       39 Drumm Street
               12      San Francisco, CA 94111
                       Telephone: (415) 293-6333
               13      jdo@aclunc.org
               14
                       Attorneys for Plaintiffs Coalition on Homelessness,
               15      Toro Castaño, Sarah Cronk, Joshua Donohoe,
                       Molique Frank, David Martinez, Teresa Sandoval,
               16      Nathaniel Vaughn
               17      Additional Counsel Appear on Signature Page
               18
                                                 UNITED STATES DISTRICT COURT
               19
                                              NORTHERN DISTRICT OF CALIFORNIA
               20
                                                           OAKLAND DIVISION
               21

               22      COALITION ON HOMELESSNESS, et al.,                CASE NO. 4:22-cv-05502-DMR

               23                            Plaintiffs,                 PLAINTIFFS’ RESPONSE TO
                                                                         DEFENDANTS’ FIRST SET OF
               24             v.                                         INTERROGATORIES

               25      CITY AND COUNTY OF SAN FRANCISCO,
                       et al.,
               26
                                             Defendants.
               27

               28
                                                                             PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                                                    NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR           Document 295-17          Filed 01/02/25    Page 3 of 12


                   1      •   Defendants have repeatedly ordered Troy Hawthorne to move from where he was living.

                   2          For example, on April 6, 2023, Defendants ordered Mr. Hawthorne to move along.

                   3          Plaintiffs refer to and incorporate by reference the Declaration of Troy Hawthorne (Dkt.

                   4          130-38).

                   5      •   Defendants have ordered Krystal Erickson to move from where she was at. Plaintiffs refer

                   6          to and incorporate by reference the Declaration of Krystal Erickson (Dkt. 130-39).

                   7      •   Defendants have repeatedly ordered Abimola Myers to move from where she was living.

                   8          For example, in or around January 2023, Defendants ordered Ms. Myer to move along and

                   9          threatened her with a warrant check if she did not move. Plaintiffs refer to and incorporate

               10             by reference the Declaration of Abimola Myers (Dkt. 130-29).

               11         •   Peter Calloway has previously observed Defendants ordering unhoused individuals to

               12             move from where they were living. Plaintiffs refer to and incorporate by reference the

               13             Declaration of Peter Calloway (Dkt. 130-44).

               14         •   Defendants have previously ordered David Martin to move from where he was living.

               15             Plaintiffs refer to and incorporate by reference the Declaration of David Martin (Dkt. 130-

               16             29).

               17         •   Savannah Waltier has previously observed Defendants ordering unhoused individuals to

               18             move from where they were living. Plaintiffs refer to and incorporate by reference the

               19             Declaration of Savannah Waltier (Dkt. 130-49).

               20             Plaintiffs’ collection and review of documents and information in this matter is ongoing.

               21      Plaintiffs’ response to the Interrogatory is made to the best of Plaintiffs’ current knowledge,

               22      information, and belief. Plaintiffs reserve the right to supplement or amend the response should

               23      further investigation and/or discovery indicate that such supplementation or amendment is

               24      necessary.

               25      INTERROGATORY NO. 4:

               26             IDENTIFY every person experiencing homelessness whose property YOU contend SAN

               27      FRANCISCO unlawfully destroyed, including all facts on which you rely. The phrase “destroy”

               28      in this request has the same meaning as used in Paragraph 8 of the First Amended Complaint.
                                                                             PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                          18                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR            Document 295-17           Filed 01/02/25     Page 4 of 12


                   1   RESPONSE TO INTERROGATORY NO. 4:

                   2          Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

                   3   Definitions as though fully set forth herein. Plaintiffs object to this Interrogatory on the basis that

                   4   the information sought by this Interrogatory is in the possession, custody, and control of

                   5   Defendants and is outside the possession, custody, and control of Plaintiffs. Plaintiffs further object

                   6   to this Interrogatory to the extent it requires Plaintiffs to identify “every person experiencing

                   7   homelessness” who has been subject to Defendants’ unlawful property destruction practices as

                   8   overbroad, unduly burdensome, not proportional, and not reasonably calculated to lead to the

                   9   discovery of admissible evidence. Plaintiffs further object to this Interrogatory to the extent it

               10      requires Plaintiffs to identify “all documents” that relate to or support the Response as overbroad,

               11      unduly burdensome, not proportional, and calls for information outside the possession, custody,

               12      and control of Plaintiffs.

               13             Subject to and without waiving any of the foregoing objections, Plaintiffs respond as

               14      follows: Plaintiffs have filed documents on the public docket identifying the persons experiencing

               15      homelessness whom Plaintiffs currently possess sufficient knowledge of the identities of and the

               16      unlawful acts of property destruction committed by Defendants against those persons.

               17             Plaintiffs identify the following documents on the public docket: Declaration of Elisa

               18      Della-Piana, Exhibits 1-4, 41-50 (Dkt. 9), Declaration of Dajuan Rochelle (Dkt. 30-3), Declaration

               19      of Zal Shroff, Ex. 1-10 (Dkt. 50-1 to 50-10), Second Supplemental Declaration of Jennifer

               20      Friedenbach (Dkt. 76), Second Supplemental Declaration of Ian James (Dkt. 77), Second

               21      Supplemental Declaration of Christin Evans (Dkt. 78), Second Supplemental Declaration of

               22      Shanna Couper Orona (Dkt. 79), Supplemental Declaration of Dylan Verner-Christ (Dkt. 130-9),

               23      Supplemental Declaration of Jezzeille Murdock (Dkt. 130-23), Declaration of Kyle Adams (Dkt.

               24      130-24), Declaration of Donovan Eugene Harding (Dkt. 130-25), Declaration of Carmen

               25      Melendez (Dkt. 130-26), Supplemental Declaration of Joshua Donohoe (Dkt. 130-27), Declaration

               26      of Andrew Berger (Dkt. 130-28), Declaration of Katelin Bagley-Adams (Dkt. 130-29), Declaration

               27      of Helen Hoffman (Dkt. 130-31), Declaration of Donovan Harding (Dkt. 130-33), Declaration of

               28      Henry Jones (Dkt. 130-34), Declaration of Corey Barkley (Dkt. 130-36), Declaration of Troy
                                                                               PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                            19                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR            Document 295-17           Filed 01/02/25     Page 5 of 12


                   1   Hawthorne (Dkt. 130-38), Declaration of Krystal Erickson (Dkt. 130-39), Declaration of Noah

                   2   Van Harin (Dkt. 130-40), Declaration of Stephanie Garcia (Dkt. 130-41), Declaration of Abimola

                   3   Myers (Dkt. 130-42), Declaration of Pauline Wise (Dkt. 130-43), Declaration of Peter Calloway

                   4   (Dkt. 130-44), Declaration of David Martin (Dkt. 130-48), Declaration of Savannah Waltier (Dkt.

                   5   130-49), Declaration of Steven Garrett (Dkt. 130-51), Declaration of Jerry Cannon (Dkt. 130-52),

                   6   Declaration of Maurie Moran (Dkt. 130-53), Declaration of Ronald Wilson (Dkt. 130-54).

                   7          To the extent Defendants document interactions with unhoused individuals pursuant to

                   8   Defendants’ Bag and Tag policy, those documents will identify additional information responsive

                   9   to this Interrogatory.

               10             Plaintiffs’ collection and review of documents and information in this matter is ongoing.

               11      Plaintiffs’ response to the Interrogatory is made to the best of Plaintiffs’ current knowledge,

               12      information, and belief. Plaintiffs reserve the right to supplement or amend the response should

               13      further investigation and/or discovery indicate that such supplementation or amendment is

               14      necessary.

               15      INTERROGATORY NO. 5:

               16             IDENTIFY every instance where YOU contend SAN FRANCISCO unlawfully destroyed

               17      property of a person experiencing homelessness, including YOU, including all facts on which you

               18      rely, such as the date, time, and location where the property was taken; the owner of the property;

               19      the identity of the employee who destroyed the property; and an inventory of the property

               20      destroyed and IDENTIFY ALL DOCUMENTS that RELATE to or support YOUR response to

               21      this Interrogatory. The phrase “destroy” in this request has the same meaning as used in Paragraph

               22      8 of the First Amended Complaint.

               23      RESPONSE TO INTERROGATORY NO. 5:

               24             Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

               25      Definitions as though fully set forth herein. Plaintiffs object to this Interrogatory on the basis that

               26      the information sought by this Interrogatory is in the possession, custody, and control of

               27      Defendants and outside the possession, custody, and control of Plaintiffs. Plaintiffs further object

               28      to this Interrogatory to the extent it requires Plaintiffs to identify “every instance” of and “all
                                                                               PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                            20                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR           Document 295-17           Filed 01/02/25    Page 6 of 12


                   1   documents” that relate to Defendants’ unlawful property destruction practices as overbroad,

                   2   unduly burdensome, not proportional, and not reasonably calculated to lead to the discovery of

                   3   admissible evidence.

                   4          Subject to and without waiving any of the foregoing objections, Plaintiffs respond as

                   5   follows: Plaintiffs have filed documents on the public docket identifying the persons experiencing

                   6   homelessness whom Plaintiffs currently possess sufficient knowledge of the identities of and the

                   7   unlawful acts of property destruction committed by Defendants against those persons. Plaintiffs

                   8   further object that, to the extent that this Interrogatory seeks information about unlawful

                   9   destruction of the property of a person experiencing homelessness, this Interrogatory is duplicative

               10      of Interrogatory No. 4.

               11             Plaintiffs identify the following documents on the public docket: Declaration of Elisa

               12      Della-Piana, Exhibit 1-4, 41-50 (Dkt. 9), Declaration of Dajuan Rochelle (Dkt. 30-3), Declaration

               13      of Zal Shroff, Ex. 1-10 (Dkt. 50-1 to 50-10), Second Supplemental Declaration of Jennifer

               14      Friedenbach (Dkt. 76), Second Supplemental Declaration of Ian James (Dkt. 77), Second

               15      Supplemental Declaration of Christin Evans (Dkt. 78), Second Supplemental Declaration of

               16      Shanna Couper Orona (Dkt. 79), Supplemental Declaration of Dylan Verner-Christ (Dkt. 130-9),

               17      Supplemental Declaration of Jezzeille Murdock (Dkt. 130-23), Declaration of Kyle Adams (Dkt.

               18      130-24), Declaration of Donovan Eugene Harding (Dkt. 130-25), Declaration of Carmen

               19      Melendez (Dkt. 130-26), Supplemental Declaration of Joshua Donohoe (Dkt. 130-27), Declaration

               20      of Andrew Berger (Dkt. 130-28), Declaration of Katelin Bagley-Adams (Dkt. 130-29), Declaration

               21      of Helen Hoffman (Dkt. 130-31), Declaration of Donovan Harding (Dkt. 130-33), Declaration of

               22      Henry Jones (Dkt. 130-34), Declaration of Corey Barkley (Dkt. 130-36), Declaration of Troy

               23      Hawthorne (Dkt. 130-38), Declaration of Krystal Erickson (Dkt. 130-39), Declaration of Noah

               24      Van Harin (Dkt. 130-40), Declaration of Stephanie Garcia (Dkt. 130-41), Declaration of Abimola

               25      Myers (Dkt. 130-42), Declaration of Pauline Wise (Dkt. 130-43), Declaration of Peter Calloway

               26      (Dkt. 130-44), Declaration of David Martin (Dkt. 130-48), Declaration of Savannah Waltier (Dkt.

               27      130-49), Declaration of Steven Garrett (Dkt. 130-51), Declaration of Jerry Cannon (Dkt. 130-52),

               28      Declaration of Maurie Moran (Dkt. 130-53), Declaration of Ronald Wilson (Dkt. 130-54).
                                                                              PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                           21                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR             Document 295-17           Filed 01/02/25     Page 7 of 12


                   1           Furthermore, Plaintiff David Martinez discloses information regarding unlawful

                   2   destruction of his property in April of 2023. At or around mid-April 2023, Mr. Martinez

                   3   temporarily left his belongings on the corner of 13th Street and South Van Ness Avenue during a

                   4   visit to a shelter offered by the City. When he returned, shortly after accepting the shelter offer, all

                   5   of his belongings had been summarily seized. An eye witness told Mr. Martinez that his belongings

                   6   had been disposed of by the City. Mr. Martinez was unable to recover the following items: a cell

                   7   phone, medication for his right-side congestive heart failure, a tent, a bed, a cot, clothing, a radio,

                   8   food, pots and pans, a portable stove, his personal drawings, and paperwork.

                   9           Plaintiffs’ collection and review of documents and information in this matter is ongoing.

               10      Plaintiffs’ response to the Interrogatory is made to the best of Plaintiffs’ current knowledge,

               11      information, and belief. Plaintiffs reserve the right to supplement or amend the response should

               12      further investigation and/or discovery indicate that such supplementation or amendment is

               13      necessary.

               14      INTERROGATORY NO. 6:

               15              IDENTIFY each injury or damage YOU sustained as a result of the incidents alleged in

               16      YOUR COMPLAINT.

               17      RESPONSE TO INTERROGATORY NO. 6:

               18              Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

               19      Definitions as though fully set forth herein.

               20              Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

               21      Definitions as though fully set forth herein. Plaintiffs object to this Interrogatory to the extent that

               22      it is overbroad, unduly burdensome, and not reasonably calculated to lead to the discovery of

               23      admissible evidence. Plaintiffs further object to this Interrogatory as unnecessary and irrelevant to

               24      the injunctive relief claims at issue in this case because Plaintiffs are not seeking monetary

               25      damages. Plaintiffs object to this Interrogatory as duplicative of Interrogatory No. 10 to the extent

               26      that the Interrogatory seeks information related to property destruction experienced by Plaintiffs

               27      and other unhoused individuals. Plaintiff also object to this Interrogatory as duplicative of

               28      Interrogatory No. 12 to the extent that the Interrogatory seeks information regarding Defendants’
                                                                                PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                             22                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR               Document 295-17        Filed 01/02/25     Page 8 of 12


                   1   failure to reasonably accommodate disabilities. Subject to and without waiving any of the

                   2   foregoing objections, Plaintiffs respond as follows: Plaintiffs have been injured by Defendants’

                   3   violation of the Fourth, Eighth, and Fourteenth Amendments, the American with Disabilities Act

                   4   and related state protections.

                   5   INTERROGATORY NO. 7:

                   6          IDENTIFY ALL facts that support YOUR allegation in Paragraph 329 of the First

                   7   Amended Complaint that “a significant number of unhoused individuals served by Plaintiff

                   8   Coalition on Homelessness, have physical or mental disabilities and have been injured by

                   9   Defendants’ discriminatory response to unhoused residents,” including the name of each such

               10      unhoused individual; the alleged disability from which he/she/they suffer; evidence that individual

               11      has been served by the Coalition on Homelessness; and how Defendants have allegedly

               12      discriminated against that unhoused individual; and IDENTIFY ALL DOCUMENTS that

               13      RELATE to or support YOUR response to this Interrogatory.

               14      RESPONSE TO INTERROGATORY NO. 7:

               15             Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

               16      Definitions as though fully set forth herein. Plaintiffs further object to this Interrogatory to the

               17      extent it requires Plaintiffs to identify “all facts” or “all documents” that relate to or support the

               18      Response as overbroad, unduly burdensome, not proportional, not reasonably calculated to lead to

               19      the discovery of admissible evidence, and calls for information outside the possession, custody,

               20      and control of Plaintiffs. Plaintiffs also object to this Interrogatory to the extent that documents

               21      containing the information sought by this Interrogatory have already been filed in this case and are

               22      therefore part of the public record. “It is well established that discovery need not be required of

               23      documents of public record which are equally accessible to all parties.” Sloan & Co., 369 F. Supp.

               24      at 995. Further, Plaintiffs object to this Interrogatory on the grounds that membership lists and

               25      other identifying information, including medical records, are generally protected from disclosure

               26      under the First Amendment absent a heightened showing of necessity. Grandbouche v. Clancy,

               27      825 F.2d 1463, 1467 (10th Cir. 1987) (requiring the party requesting a membership list to

               28      demonstrate that “the privilege must be overborne by the need for the requested information”); see
                                                                               PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                            23                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR            Document 295-17          Filed 01/02/25     Page 9 of 12


                   1          Subject to and without waiving any of the foregoing objections, Plaintiffs respond as

                   2   follows: Plaintiff Coalition on Homelessness has no information responsive to this Request

                   3   because it is an entity and therefore cannot be cited, fined, or arrested as that term is used in the

                   4   First Amended Complaint.

                   5          Plaintiff Toro Castano responds that on August 21, 2020, he was cited and detained by

                   6   police officers for illegal camping at the intersection of 16th Street and Pond Street in San

                   7   Francisco. Plaintiff Toro Castano refers Defendants to and incorporates into this Response by

                   8   reference paragraphs 17 to 19 and Exhibit A of the Declaration of Toro Castano (Dkt. 9-4, at 6).

                   9          Plaintiff David Martinez responds that, for several years, he was regularly arrested due to

               10      being homeless and detained for 72 hours on multiple occasions. Mr. Martinez was told that the a

               11      reason for his arrests was his failure to carry identification, although his identification had been

               12      lost during sweeps conducted by Defendants. Until April of 2023, Mr. Martinez was not offered

               13      shelter by the City at any of these enforcement interactions.

               14             Plaintiffs Sarah Cronk, Joshua Donohoe, Molique Frank, Teresa Sandoval, and Nathaniel

               15      Vaughn respond that, as of the date of the Response to this Interrogatory, they have not been

               16      previously cited, fined, or arrested as a result of being homeless.

               17             Plaintiffs’ collection and review of documents and information in this matter is ongoing.

               18      Plaintiffs’ response to the Interrogatory is made to the best of Plaintiffs’ current knowledge,

               19      information, and belief. Plaintiffs reserve the right to supplement or amend the response should

               20      further investigation and/or discovery indicate that such supplementation or amendment is

               21      necessary.

               22      INTERROGATORY NO. 10:

               23             Please state all facts describing each incident where YOU contend SAN FRANCISCO

               24      destroyed YOUR property, including, but not limited to, the dates and location(s) of the

               25      incident(s), a full inventory of the property taken, the value of the property taken, whether you

               26      were present at the time the property was taken, whether notice was posted regarding the seizure,

               27      the identity of any City personnel involved in the incident(s), what if any steps you took to

               28      determine whether any of your property had been stored by the City, and the identity of any
                                                                              PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                           27                          NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR            Document 295-17             Filed 01/02/25    Page 10 of 12


                   1   witnesses to the incident(s) and IDENTIFY ALL DOCUMENTS that RELATE to or support

                   2   YOUR response to this Interrogatory. The phrase “destroy” in this request has the same meaning

                   3   as used in Paragraph 8 of the First Amended Complaint.

                   4   RESPONSE TO INTERROGATORY NO. 10:

                   5          Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

                   6   Definitions as though fully set forth herein. Plaintiffs object to this Interrogatory to the extent it

                   7   requires Plaintiffs to identify “all documents” that relate to or support the Response as overbroad,

                   8   unduly burdensome, not proportional, and calls for information outside the possession, custody,

                   9   and control of Plaintiffs. Plaintiffs further object to this Interrogatory to the extent that documents

               10      containing the information sought have already been filed in this case and are therefore part of the

               11      public record. Plaintiffs further object to this Interrogatory to the extent it is duplicative of

               12      Interrogatory No. 5.

               13             Subject to and without waiving any of the foregoing objections, Plaintiffs respond as

               14      follows: Plaintiff Coalition on Homelessness has no information responsive to this Request

               15      because it has not had its property destroyed by Defendants. Individuals Plaintiffs identify the

               16      following documents on the public docket: Declaration of Elisa Della-Piana, Exhibit 1-4, 41-50

               17      (Dkt. 9), Declaration of Toro Castano (Dkt. 50-5).

               18             Plaintiffs’ collection and review of documents and information in this matter is ongoing.

               19      Plaintiffs’ response to the Interrogatory is made to the best of Plaintiffs’ current knowledge,

               20      information, and belief. Plaintiffs reserve the right to supplement or amend the response should

               21      further investigation and/or discovery indicate that such supplementation or amendment is

               22      necessary.

               23      INTERROGATORY NO. 11:

               24             List all physical, mental, and emotional impairments that YOU rely on to support YOUR

               25      claim of disability or handicap in this action, if any.

               26      RESPONSE TO INTERROGATORY NO. 11:

               27             Plaintiffs incorporate their Preliminary Statement, General Objections, and Objections to

               28      Definitions as though fully set forth herein. Plaintiffs object to this Interrogatory to the extent that
                                                                                  PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                             28                            NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR         Document 295-17           Filed 01/02/25    Page 11 of 12


                   1          Plaintiffs’ collection and review of documents and information in this matter is ongoing.

                   2   Plaintiffs’ response to the Interrogatory is made to the best of Plaintiffs’ current knowledge,

                   3   information, and belief. Plaintiffs reserve the right to supplement or amend the response should

                   4   further investigation and/or discovery indicate that such supplementation or amendment is

                   5   necessary.

                   6

                   7   Dated: June 22, 2023                        By: /s/ Joseph H. Lee

                   8                                               LATHAM & WATKINS LLP
                                                                   Alfred C. Pfeiffer, Jr., SBN 120965
                   9                                               Wesley Tiu, SBN 336580
                                                                   Kevin Wu, SBN 337101
               10                                                  Tulin Gurer, SBN 303077
                                                                   505 Montgomery Street, Ste. 2000
               11                                                  San Francisco, CA 94111
                                                                   Telephone: (415) 391-0600
               12                                                  al.pfeiffer@lw.com
                                                                   wesley.tiu@lw.com
               13                                                  kevin.wu@lw.com
                                                                   tulin.gurer@lw.com
               14
                                                                   LATHAM & WATKINS LLP
               15                                                  Joseph H. Lee, SBN 248046
                                                                   650 Town Center Drive, 20th Floor
               16                                                  Costa Mesa, CA 92626
                                                                   Telephone: (714) 540-1235
               17                                                  joseph.lee@lw.com
               18                                                  LATHAM & WATKINS LLP
                                                                   Rachel Mitchell, SBN 344204
               19                                                  12670 High Bluff Drive
                                                                   San Diego, CA 92130
               20                                                  Telephone: (858) 523-5400
                                                                   rachel.mitchell@lw.com
               21
                                                                   LAWYERS’ COMMITTEE FOR CIVIL
               22                                                  RIGHTS OF THE SAN FRANCISCO BAY
                                                                   AREA
               23                                                  Zal K. Shroff, MJP 804620*
                                                                   Elisa Della-Piana, SBN 226462
               24                                                  131 Steuart Street, Ste. 400
                                                                   San Francisco, CA 94105
               25                                                  Telephone: (415) 543-9444
                                                                   zshroff@lccrsf.org
               26                                                  edellapiana@lccrsf.org
               27                                                  *admitted pro hac vice
               28                                                  ACLU FOUNDATION OF NORTHERN
                                                                             PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                         34                           NO. 4:22-cv-05502-DMR
                   Case 4:22-cv-05502-DMR   Document 295-17        Filed 01/02/25    Page 12 of 12


                   1                                    CALIFORNIA
                                                        John Thomas H. Do, SBN 285075
                   2                                    Brandon L. Greene, SBN 293783
                                                        39 Drumm Street
                   3                                    San Francisco, CA 94111
                                                        Telephone: (415) 293-6333
                   4                                    jdo@aclunc.org
                                                        bgreene@aclunc.org
                   5
                                                        Attorneys for Plaintiffs
                   6

                   7

                   8

                   9

               10

               11

               12

               13

               14

               15

               16

               17

               18

               19

               20

               21

               22

               23

               24

               25

               26

               27

               28
                                                                    PLFS.’ RESPONSE TO FIRST SET OF DEFS.’ ROGS
ATTORNEYS AT LAW
 SAN FRANCISCO                                                35                           NO. 4:22-cv-05502-DMR
